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     CA State Bar No: 054730

 6   Attorney for Defendant,
     ANTHONY ROY WILSON
 7
 8                        UNITED STATES DISTRICT COURT
 9                               DISTRICT OF NEVADA
                               (Honorable James C. Mahan)
10
11   UNITED STATES OF AMERICA,              )     CASE NO. 2:12-CR-00113-013-JCM
                                            )
12                Plaintiff,                )     UNOPPOSED MOTION TO
13
                                            )     MODIFY CONDITIONS OF
     vs.                                    )     SUPERVISED RELEASE
14                                          )
     ANTHONY ROY WILSON,                    )
15                                          )
                  Defendant.                )
16                                          )

17         COMES NOW, the defendant, ANTHONY WILSON, by and through his
18   attorney, Frank T. Vecchione, and hereby moves to modify his conditions of
19   supervised release to allow travel within the Central District of California.
20         This request is made on the following grounds:
21         (1)    On November 17, 2015, defendant ANTHONY WILSON was
22   sentenced by this Court to time served and placed on two (2) years supervised release.
23   Mr. WILSON was also ordered to complete forty (40) hours community service, pay
24   an Assessment in the amount of $100 and Restitution in the amount of $115,700;
25         (2)    Defendant WILSON resides in Fallbrook, California, and has had
26   supervision transferred to the United States Probation Department for the Southern
27   District of California;
28         (3)    Mr. WILSON resides in Northern San Diego County, in close proximity
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 1   to the Central District of California; his employment requires travel to the cities of
 2   Temecula and Los Angeles in the Central District of California (see attached letter
 3   from employer);
 4         (4)    Mr. WILSON respectfully requests his conditions of supervised release
 5   be modified to allow him to travel within the Central District of California;
 6         (5)    Counsel for the United States, Alison L. Anderson, U.S. Department of
 7   Justice, Criminal Division, has no opposition to Mr. WILSON’s conditions of
 8   supervised release being modified to allow him to travel within the Central District
 9   of California.
10         For the above-mentioned reasons, defendant ANTHONY WILSON requests
11   his conditions of supervised release be modified to allow travel within the Central
12   District of California.
13                                                  Respectfully submitted,
14
15   Dated: December 16, 2015                       s/Frank T. Vecchione
                                                    FRANK T. VECCHIONE
16                                                  Attorney for Defendant
                                                    ANTHONY ROY WILSON
17                                                  Email: ftvlaw@gmail.com
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 1                         UNITED STATES DISTRICT COURT
 2                                DISTRICT OF NEVADA
                                (Honorable James C. Mahan)
 3
 4   UNITED STATES OF AMERICA,                )         CASE NO. 2:12-CR-00113-013-JCM
                                              )
 5                 Plaintiff,                 )         PROPOSED ORDER
                                              )
 6   vs.                                      )
                                              )
 7   ANTHONY ROY WILSON,                      )
                                              )
 8                 Defendant.                 )
                                              )
 9
10                                   FINDINGS OF FACT
11         Based on the Defendant’s pending Unopposed Motion to Modify
12   Conditions of Supervised Release, and good cause appearing therefore, the Court
13   hereby finds that:
14         (1)     The parties are in agreement to allow defendant’s conditions of
15   supervised release be modified to allow him to travel within the Central District of
16   California.
17         (2)     This Court is convinced that an adequate showing has been made
18   which demonstrates the need for defendant WILSON’s conditions of supervised
19   release to be modified. This decision is based on the following findings:
20                 a.     Defendant WILSON must be able to travel within the Central
21                        District of California in order to maintain his current
22                        employment.
23         (3)     For all the above-stated reasons, the ends of justice would best be
24   served by allowing defendant WILSON’s conditions of supervised release to be
25   modified.
26   //
27   //
28   //

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 1                                     ORDER
 2         IT IS THEREFORE ORDERED that the Conditions of Supervised
 3   Release as to ANTHONY WILSON be modified to allow him to travel within the
 4   Central District of California.
 5
 6   Dated: December 21, 2015.
                                       UNITED STATES DISTRICT JUDGE
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